
McAdam, J.
An easement is a without which the owner of one tenement has a right to enjoy, in respect of that tenement, in or over the tenement of another person, by reason whereof the latter is obliged to refrain from doing anything on his own tenement to the detriment of the former. Goddard on Easements, Banks’ Ed. of 1871, p. 2. The right to the free passage of light is classed among these privileges and ranks with other easements. The right of property entitles the owner to so much light *647and air as fall perpendicularly on his land, and this, when transmitted through his building according to its peculiarities of structure, and distributed to its different parts, may make them desirable to tenants for residences or trade purposes. Whether a particular tenement is light or dark may have influenced the tenant to hire, and it will not do after he has contracted with reference to these existing advantages to hold that he has acquired no right to them, as an incident of the hiring in the nature of an easement, because not so specifically designated in his lease.
While it is true that easements are generally acquired by grant or prescription, it is equally true that they may be gained by contract, although not specified, where, from the nature of the subject matter, it is evident that the parties intended that conveniences permanently constructed for the distribution of light and air should form an inseparable incident of the main agreement.
Such easements may be implied from the very nature of the subject matter and demise, the two being considered together, and, unless the lease contains some restriction upon the right, it will be assumed that the tenant shall possess his portion of the tenement in the manner and with the same beneficial rights as were then in and belonging to it.
The interest thus acquired may be termed the dominant tenement, the other the servient, and the duty imposed on the latter is of that passive character which merely requires the occupant of that part to refrain from doing any act of a positive character calculated to produce undue injury to the right of the occupants underneath. The defendant Breese, as tenant of the rear parlor extension, acquired an undoubted right to light from the two skylights over his room, and the plaintiffs, as tenants of the basement, gained the right to whatever light they might obtain through the floor lights.
The easements in both cases were apparent, and, therefore, passed, whether named in the demise or not. Wood on L. &amp; T. {2d ed.), 429. The very name “ floor lights ” was notice that the •occupants underneath were to receive whatever rays of light they might reflect, and, however indifferent the light reflected below might be, the tenants above had no right arbitrarily to cover the floor lights with matting and in that manner shut out the light entirely. The doctrine sic utere tuo ut alienum non Icedas applies to lights as well as to solid or tangible property, Whart Max., and the occupant of the servient tenement was bound to use it in a manner that would not infringe upon the rights of the tenants on the floor below. . The owner could not lawfully have disregarded the rights of easement in the dominant tenement, and his tenants with notice thereof have no greater rights than he would have had if he had not rented the servient tenement. It is evident that when the owner erected the rear extension he intended that 1 the skylights should light the rear parlor, and that light should in turn be reflected through the floor lights into the basement below. This scheme of the building must have been apparent to anyone inspecting the building with a view to hiring, and the leases given were evidently made with reference to it, and this *648being the manifest intention of all the parties, no rule of law stands in the way of giving that intention full effect. In Spies v. Damm, 54 How. Pr., 293, this court enjoined the tenant of the store floor from covering the grating in front of his premises with a showcase, on the ground that it cut off the light from the tenant of the basement and infringed upon one of the rights or incidents of his demise. In Underwood v. Burrows, 7 C. &amp; P., 26, it appeared that the plaintiff rented two rooms on the second floor of the defendant’s house. There was a water closet, knocker, skylight, etc. Subsequently the defendant took up the water closet and darkened the skylight, and plaintiff brought an action on the case. The defendant offered to show that nothing was said about these things at the time of the demise. Lord Abinger, C. B., rejected the evidence, saying they spoke for themselves; they were there when the rooms were rented, arid were accessories to their enjoyment, and the tenant had the right to have them remain, excepting they were specially excepted in the lease to him.
The same principle applies to the rights of tenants to use the yard, coal bins and other incidents of a tenement house, all of which are matters of common familiarity.
In Morgan v. Smith, 5 Hun, 220, the court held that “ the skylight constructed for the use of the store leased by plaintiff to the defendants was an appurtenance to the demised premises. The right to enjoy its use passed under the lease.” Other cases are to the same general effect The defendant, Breese, and his visitors, have the undoubted right to walk over the floor lights as part of the floor of the servient tenement, but he cannot cover these lights permanently with carpet or matting, so as to forever shut out the light that might otherwise find its way to the floor below, for this is clearly contrary to the spirit and intent of the demise under which he holds, and unlawfully infringes upon the rights of the plaintiffs as occupants of the basement. The defendant had no power to extinguish or impair the plaintiffs’ easement, which is a valuable right under protection of the law.
The plaintiffs are, therefore, entitled to a mandatory injunction, restraining the defendants from continuing the wrong complained of. Judgment accordingly, with costs.
